          Case 1:24-cr-00556-DEH              Document 142-2            Filed 02/26/25        Page 1 of 1


   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK

  United States of America
                                    Plaintiff,                         1:24-cr-556                            )
                              vs.
                                                                       ORDER FOR ADMISSION
                     Eric Adams                                           PRO HAC VICE

                                    Defendant.

                                  R. Trent McCotter
           The motion of _______________________, for admission to

   practice Pro Hae Vice in the above captioned action is granted.

           Applicant has declared that he/she is a member in good standing of the bar(s) of the state(s) of
   DC
   ___________________; and that his/her contact information is as follows

   (please print):

    Applicant's Name: R. Trent McCotter

    Firm Name: Separation of Powers Clinic
    Address: 3600 John McCormack Rd. NE
    City/State/ZIP: Washington, DC 20064
    Tele: 202-706-5488
    Email: mccotter@cua.edu



  Applicant having requested admission Pro Hae Vice to appear for all purposes as counsel for
Amicus Curiae (pending forthcoming motion) Separation of Powers Clinic
  ____________________________ in the above entitled action;

           IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hae Vice in the above

   captioned case in the United States District Court for the Southern District of New York. All attorneys

   appearing before this Court are subject to the Local Rules of this Court, including the Rules governing

   discipline of attorneys.



   Dated:--------

                                                            United States District/ Magistrate Judge
